
663 S.E.2d 857 (2008)
STATE of North Carolina
v.
Darius Dashawn RUTLEDGE.
No. 184P08.
Supreme Court of North Carolina.
June 11, 2008.
Rudolph A. Ashton, III, New Bern, for Rutledge.
Charles E. Reece, Assistant Attorney General, R. Stuart Albright, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 21st day of April 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
